Case 2:17-cv-00077-RWS-RSP Document 10 Filed 04/05/17 Page 1 of 1 PageID #: 60



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 DYNAMIC NUTRITION SOLUTIONS
 LLC,
                                                  Civil Action No. 2:17-cv-00077
                       Plaintiff,

        v.

 EVERYDAY HEALTH, INC.

                       Defendant.


        ORDER GRANTING UNOPPOSED MOTION TO STAY ALL DEADLINES

        CAME ON THIS DAY for consideration of Plaintiff’s Unopposed Motion to Stay All

 Deadlines between Plaintiff Dynamic Nutrition Solutions LLC and Defendant Everyday Health,

 Inc., and the Court being of the opinion that said motion should be GRANTED, hereby:

        ORDERS that all deadlines between Plaintiff Dynamic Nutrition Solutions LLC and

 Defendant Everyday Health, Inc. are stayed 30 days from the date of this Order. If a motion to

 dismiss has not been filed by May 3, 2017, the parties are ORDERED to appear at 9:00 a.m. on

 May 4 for a status conference.

        Apr 4, 2017
